   Case:18-02081-MCF13 Doc#:13 Filed:06/15/18 Entered:06/15/18 09:48:10                                                              Desc: Main
                       IN THE UNITED STATES BANKRUPTCY
                                 Document   Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

SONIA IVETTE ROMAN GARAY                                                                     CASE NO. 18-02081-MCF
                                                                                             CHAPTER 13
   DEBTOR(S)


                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. A meeting of creditors pursuant to Section 341 was held on 05/22/2018. The meeting was (was not) duly attended by
debtor(s) and their attorney.

2. The liquidation value of the estate is: $92,680

3. With respect to the attached payment plan:


               AMENDED PLAN DATE: May 25, 2018                                                PLAN BASE: $18,360.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 6/15/2018
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] INSUFFICIENTLY FUNDED § 1325(b):

   Plan is insufficiently funded to pay 100% plus 6% legal interest for the general unsecured creditors.




  [X] OTHER:

   1) Pending objection to confirmation by Coop A/C Caguas at docket #10 as plan does not provide for APP &
EMA payments. Trustee notes that amended plan 5/25/2018 provides for APP, but not so for EMA payments. 2)
Pending to submit evidence of maturity date for Retiro regular loan. 3) Debtor to review Plan Part 4.6
(insurance coverage) which discloses beginning date for insurance coverage 6/29/2018, however per insurance
quote submitted, maturity date is 6/2019.


NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Miriam Salwen Acosta
                                                                                        Miriam Salwen Acosta
Atty: ROBERTO FIGUEROA                                                                  USDC # 208910
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - SR
